           Case 8:20-cr-00033-TDC Document 174 Filed 09/30/21 Page 1 of 1



                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                     *


v.                                           *       Criminal Case No. TDC-20-0033


PATRIK MATHEWS                               *

*      *       *      *       *      *       *       *     *      *     *      *      *

                   MOTION FOR LEAVE TO FILE SEALED MATERIALS

       Patrik Mathews, through his attorney, hereby moves this Honorable Court for leave to

the file the Defendant’s Sentencing Memorandum under seal. As grounds therefore,

the defense     states that the Sentencing Memorandum contains confidential personal

information including confidential health records.



       WHEREFORE, the defense requests that this Honorable Court grant its motion for leave to

file the Defendant’s Sentencing Memorandum.

                                             Respectfully submitted,


                                                            /s/
                                             JOSEPH A. BALTER, #04496
                                             Law Office of Joseph A. Balter, LLC
                                             Mt. Washington Mill
                                             1340 Smith Avenue, Ste 200
                                             Baltimore, Maryland 21201
                                             Telephone: (410) 375-7082
                                             Facsimile: (410) 779-1201
                                             Email:      joseph@josephbalterlaw.com
